                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

                               NO.: 5:17-CV-534-H


EPIC GAMES, INC.                        )
                                        )
     Plaintiff,                         )
                                        )
                                        )
     v.                                 )
                                        )                   ORDER
                                        )
C.R.,                                   )
                                        )
    Defendant.                          )
                                        )



     This matter is before the court on plaintiff’s motion to

appoint    a   guardian   ad    litem   for   the   minor   defendant.    Having

carefully considered the motion, the court GRANTS plaintiff’s

motion for appointment of a guardian ad litem.                      Plaintiff is

directed to file, within 21 days of the filing of this order, a

notice proposing an individual to act as guardian ad litem and

information regarding the suitability of that person to act as

guardian ad litem.

     The clerk is directed to serve a copy of this order on the

following individuals:

                     [insert minor defendant’s name]
                            c/o Lauren Rogers
                              5 Vireo Circle
                             Newark, DE 19711




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                           Lauren Rogers
                          5 Vireo Circle
                         Newark, DE 19711

                 [insert minor defendant’s name]
                        c/o Lauren Rogers
                          501 West Ave.
                       New Castle, DE 19720

                           Lauren Rogers
                          501 West Ave.
                       New Castle, DE 19720
          12th day of August 2020.
    This ____



                          __________________________________
                          Malcolm J. Howard
                          Senior United States District Judge

At Greenville, NC
#26




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